Case: Case
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                                                               of 2




           United States Court of Appeals
                for the Fifth Circuit
                                 No. 21-50949


   United States of America,

                                                            Plaintiff—Appellee,

                                     versus

   State of Texas,

                                                         Defendant—Appellant,

   Erick Graham; Jeff Tuley; Mistie Sharp,

                                              Intervenor Defendants—Appellants.


                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:21-CV-796


   Before Stewart, Haynes, and Ho, Circuit Judges.
   Per Curiam:
          IT IS ORDERED that Appellant’s emergency motion to stay the
   preliminary injunction pending appeal is temporarily held in abeyance
   pending further order by this motions panel. Appellee is directed to respond
   to the emergency motion by 5 pm on Tuesday, October 12, 2021.
         IT IS ORDERED that Appellant’s alternative motion for a temporary
   administrative stay pending the court’s consideration of the emergency
   motion is GRANTED.
  Case: Case
        21-50949    Document: 00516049254
             1:21-cv-00796-RP              Page:10/08/21
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                                                                 of 2




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK

LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                            October 08, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-50949     USA v. State of Texas
                       USDC No. 1:21-CV-796

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Mary C. Stewart, Deputy Clerk
                                  504-310-7694
Ms.   Jeannette Clack
Ms.   Kyle T. Edwards
Mr.   Mark Reiling Freeman
Ms.   Heather Gebelin Hacker
Ms.   Sarah Elaine Harrington
Amy   Snow Hilton
Ms.   Beth Ellen Klusmann
Mr.   Jonathan F. Mitchell
Mr.   Brian David Netter
Mr.   Leif A. Olson
Mr.   James Ryan Powers
Mr.   Michael S. Raab
Mr.   Judd Edward Stone II
Ms.   Natalie Deyo Thompson
Mr.   William Thomas Thompson
Mr.   Benjamin Walton
Mr.   Daniel Winik
